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URGENT: Siamak Pourzand had heart attack in the jail

We are writing regarding Siamak Pourzand a 72 years Old Iranian journalist, who has more than

50 years valuable background in social works and cultural activities.

His last position was managing The Cultural Centre of Tehran. He has been kidnapped on
November 24" 2001 in front of his sister house in Tehran at 10.00pm by couple of unknown
people. He has been kept in an unknown jail somewhere in Tehran for over 7 months up to now.
After more than five months his court started to be process .During his court several news have
been published in hardliner newspapers against him. His sister who visited him couple of times
before his court was reporting about his pour physical and physiological situation.

The extremist group newspapers which were reporting about his court, said that the defendant has
confessed to his crimes and he has accepted that he is absolutely guilty.

There are many questions about his arrestment and the legal process of his case which have never
been answered. The original reason for his arrestment is not clear yet. No body knows where they
kept him for all last 7 months. He never had a chance to sign a contract with our family lawyer
and the court chose a lawyer for him who has never been in touch with us to get more information
and document. He has been forced to confess against himself under unbelievable physical and
mental torture. They made him to say that he doesn’t have any defense.

This is more than 7 months that all human right organizations are working on his case to get news
about his situation. After over 40 days the court issued the sentence on his case and charged him
for 8 years imprison,

His lawyer says that Pourzand doesn’t want to appeal on the court decision. This is an important
question that why he doesn’t want to use his legal right. It is very clear that he is not allowed to
ask for appeal.

This is not a right time to analyze his legal rights and human rights. This is very emergency
situation that each single minute is important.

The most urgent issue is his health situation now. He had a visit with his sister last Friday. His
health condition was terrible and he was holding a big napkin in front of his mounts during the
visit and it means that there was something wrong that he had to hide it from his sister. He seems
so weak and nervous.

These all made us worry because he was under serious medication for more than 10 years because
of his heart and blood pressure problems. During last 7 months nobody let us to provide him
those necessary medicines. He has been kept in an isolate cell for over 7 months now without the
basic facilities.

Unfortunately we got trustable news yesterday which said that during last week he had heart
attack, Also we heard that he couldn’t get any kind of health care services even in this emergency
circumstance. Regarding his heart problem background and all unfair and stressful situations that
he had during last 7 months and with considering his age, the situation is very critical after this
heart attack in the jail.

Our request from all organization which is working on human right, is taking an urgent action
about Pourzand scary condition. He needs urgent medical services. We are pleased to accept any
expenses for transferring him to a hospital and all other medical coverage will be paid by his
family. We are alerting that he is in an emergency situation and any delay could be too late.
Respectfully reminding that every single minute is important to avoiding another tragedy
happening in an unknown jail against an old journalist who works with his love for improving the
culture and expanding the democracy in his society.

Sincerely
Pourzand’s Family

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